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15
                          UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
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     ALLYSON CHAGAS,                              Case. No.: 2:19-cv-03860-JAK-JC
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                       Plaintiff,                 ORDER (1) CONTINUING DATE OF
20                                                PLAINTIFF’S FURTHER
            v.                                    DEPOSITION; (2) CONTINUING
21                                                FURTHER STATUS CONFERENCE;
     UNITED AIRLINES, Inc., et al.,               AND (3) EXTENDING DEADLINE
22                                                TO FILE STATUS REPORTS
                       Defendant.
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           Having review the parties’ Stipulation to Continue the Date of Plaintiff’s
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     Further Deposition & Further Status Conference (“Stipulation”) (Docket No. 89), the
 3
     Court hereby approves the Stipulation Orders:
 4
           1.    Plaintiff’s deposition shall be taken on September 29, 2020.
 5
           2.    The Telephonic Status Conference is continued from September 22, 2020
 6
                 at 9:30 a.m. to October 14, 2020 at 10:00 a.m.
 7
           3.    The parties’ deadline to file status reports is extended from September
 8
                 16, 2020 to October 6, 2020.
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10         IT IS SO ORDERED
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12
     Dated:      September 8, 2020                  ___________/s/_______________
13                                                  Honorable Jacqueline Chooljian
                                                    United States Magistrate Judge
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